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                       DEFENDANT Kcins'S MOTION FOR EXTENSION OF TIME

Defeniianl Ktinirespectfully moves the Court for an order extending her time to answer the Complaint. She and her co-
defendants have been diligently working to raise funds to retaiti counsel for this matter. She expects to t'malize an
engagement agreement within 30 days, and therefore requests an additional 60 days in which to respond to the
complaint.




                 April 15.2022
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